 Fill in this information to identify the case:
 Debtor 1    Lauren Cook

 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the EASTERN District of MICHIGAN

 Case number 17-48858-mlo

Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: HOME POINT FINANCIAL CORPORATION                                Court claim no. (if known): 1-2

Last 4 digits of any number you use to                                            Date of payment change: 5/1/2020
identify the debtor’s account: 8316                                               Must be at least 21 days after date
                                                                                  of this notice

                                                                                  New total payment: $708.13
                                                                                  Principal, interest, and escrow, if any

 Part 1:       Escrow Account Payment Adjustment

 1.      Will there be a change in the debtor’s escrow account payment?

         □ No.
         ■ Yes.         Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                        the basis for the change. If a statement is not attached, explain why:
                        ________________________________________________________________________________________________________
                        ____________________________________

         Current escrow payment: $223.89                               New escrow payment: $229.07


 Part 2:       Mortgage Payment Adjustment

 2.      Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
          variable-rate account?

         ■ No
         □ Yes.        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
                         explain why:
                         _______________________________________________________________________________________________________
                         __________________________________________________________________________________

         Current interest rate:                                    New interest rate:

         Current principal and interest payment:           New principal and interest payment:


 Part 3:       Other Payment Change

 3.      Will there be a change in the debtor's mortgage payment for a reason not listed above?

         ■ No
         □ Yes         Attach a copy of any document describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect.)

                       Reason for change: ________________________________________________________________________________

         Current mortgage payment                           New mortgage payment:




Official Form 410S1                                   Notice of Mortgage Payment Change                                                page 1
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Debtor 1 Lauren Cook                                                 Case number (if known) 17-48858-mlo
           Print Name        Middle Name    Last Name




 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.
      □ I am the creditor
      ■ I am the creditor’s authorized agent.

 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.

         Cristina DiGiannantonio
     /s/ ______________________                          4/10/2020
                                                   Date ________________________
     Signature



  Print              Cristina DiGiannantonio
                    _____________________________________________                                     Title   Authorized Agent for Creditor
                    First Name                     Middle Name      Last Name


  Company           Robertson, Anschutz, Schneid & Crane LLC


  Address           10700 Abbott's Bridge Road, Suite 170
                    Number       Street


                    Duluth GA 30097
                    City                                                 State       ZIP Code

  Contact Phone     470-321-7112                                                                            cdigiannantonio@rascrane.come
                                                                                                      Email _____________________________




Official Form 410S1                                     Notice of Mortgage Payment Change                                                     page 2
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                                     UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF MICHIGAN
                                             DETROIT DIVISION

IN RE:

Lauren Cook,                                                                     BK Case 17-48858-mlo
Debtor.                                                                                  Chapter 13
__________________/



                                           CERTIFICATE OF SERVICE
                                           April 10, 2020
               I HEREBY CERTIFY that on ____________________________________________________________,
I electronically filed the foregoing with the Clerk of Court using the CM/ECF system, and a true and correct copy has
been served via CM/ECF or United States Mail to the following parties:
MARSHALL D. SCHULTZ
29777 TELEGRAPH ROAD
SUITE 2203
SOUTHFIELD, MI 48034

TAMMY L. TERRY
BUHL BUILDING
535 GRISWOLD
SUITE 2100
DETROIT, MI 48226

LAUREN COOK
4459 LAUREL CLUB CIRCLE #16
WEST BLOOMFIELD, MI 48323

                                                                          Robertson, Anschutz, Schneid & Crane LLC
                                                                          Authorized Agent for Secured Creditor
                                                                          10700 Abbott's Bridge Road, Suite 170
                                                                          Duluth, GA 30097
                                                                          Telephone: 470-321-7112
                                                                          Facsimile: 404-393-1425

                                                                               /s/ Kimberly Meador
                                                                          By: _________________________
                                                                               Kimberly Meador
                                                                               Email: kmeador@rascrane.com




Official Form 410S1                   Notice of Mortgage Payment Change                              page 3
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                                                 REPRESENTATION OF PRINTED DOCUMENT

                                    FOR RETURN SERVICE ONLY
                                    PLEASE DO NOT SEND PAYMENTS TO THIS ADDRESS                             ESCROW STATEMENT
                                    P.O. Box 619063
                                    Dallas, TX 75261-9063

                                                                             Analysis Date:                                                                  April 09, 2020
                                                                             Loan Number:
                                                                             New Payment Effective Date:                                     05/01/20
                                                                             For Inquiries:                                              800.686.2404
                                                                             Property Address:                              4459 LAUREL CLUB CIR APT
          LAUREN COOK
                                                                                                                           WEST BLOOMFIELD MI 48323
          4459 LAUREL CLUB CIR APT 16
          WEST BLOOMFIELD MI 48323-2903




TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED, DISMISSED OR IS SUBJECT
TO AN AUTOMATIC STAY OF BANKRUPTCY ORDER UNDER TITLE 11 OF THE UNITED
STATES CODE, THIS NOTICE IS FOR COMPLIANCE AND INFORMATION PURPOSES ONLY
AND DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR ANY ATTEMPT TO COLLECT
ANY SUCH OBLIGATION.
                         Annual Escrow Account Disclosure Statement - Projections for Coming Year
The following is an overview of your escrow account with Home Point Financial Corporation. It contains a snapshot of the anticipated disbursements for the
coming year and the history of escrow payments made on your behalf in the prior year. Any potential adjustments due to increases or decreases with your
escrowed items may affect your monthly escrow payment. If your escrow payment increases, your monthly mortgage payment will also increase. If the escrow
payment decreases, your mortgage payment will decrease.

             Payment Information                                                  Current                              Effective 05/01/20
             Principal & Interest Pmt                                             $479.06                                         $479.06
             Total Monthly Escrow Payment                                         $223.89                                         $229.07
             Reserve Acct Pymt                                                      $0.00                                           $0.00
             HUD 235/265 Pymt (-)                                                   $0.00                                           $0.00
             Misc Acct Payment                                                      $0.00                                           $0.00
                                                                _________________________________                         ________________________________

             Total Payment                                                        $702.95                                                $708.13


Shortage/Surplus Information                        Effective 05/01/20                              Cushion Calculation: Because Home Point Financial
                                                                                                    does not set your tax amounts or insurance premiums,
Upcoming Total Annual Bills                                   $2,705.69                             your escrow balance contains a cushion of $371.78. A
Required Cushion                                                $371.78                             cushion is an additional amount of funds held in your
Required Starting Balance                                     $1,072.19                             escrow in order to prevent the balance from becoming
Over/Short Spread                                                 $0.00                             overdrawn when an increase in the disbursement amount
                                                                                                    occurs. Based upon federal or state regulations, if your
                                                                                                    escrow account is required to maintain a cushion, the
                                                                                                    minimum balance should not be below 1/6th or 1/12th of
                                                                                                    the anticipated payments from the account. If your
                                                                                                    escrow account is not required to maintain a cushion, a
                                                                                                    minimum balance is not required.
These are the escrow items we anticipate we will collect for or pay on your behalf in the upcoming 12 month period. The dollar amount shown may be the last
amount actually paid for that item, or may project the next amount due.
        Date                Anticipated Payments                                                                              Escrow Balance
                            To Escrow       From Escrow                          Description                           Anticipated          Required
                                                                                 Starting Balance                            $1,464.46                            $1,072.19
   MAY 2020                       $229.07                                                                                    $1,693.53                            $1,301.26
   JUN 2020                       $229.07                   $43.18               PMI INSURANC                                $1,879.42                            $1,487.15
   JUL 2020                       $229.07                   $43.18               PMI INSURANC                                $2,065.31                            $1,673.04
   AUG 2020                       $229.07                   $43.18               PMI INSURANC                                $2,251.20                            $1,858.93
   AUG 2020                                              $1,268.81               TAXES                                         $982.39                              $590.12
   SEP 2020                       $229.07                   $43.18               PMI INSURANC                                $1,168.28                              $776.01
   SEP 2020                                                $291.00               PROPERTY INS                                  $877.28                              $485.01
   OCT 2020                       $229.07                   $43.18               PMI INSURANC                                $1,063.17                              $670.90




                                             11511 Luna Road, Suite 200
                                             Farmers Branch,TX 75234
                                             (800) 686-2404




    HOME POINT FINANCIAL CORPORATION
    PO Box 735028
    Dallas TX, 75373-5028




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                                                                                             Home Point Financial Corporation
                                                                                               11511 Luna Road, Suite 200
                                                                                                Farmers Branch, TX 75234
                                                                                                      800.686.2404


                                                                                                                               Property Address:
                                                                                                                               4459 LAUREL CLUB CIR APT
                                                                                                                               WEST BLOOMFIELD MI 48323
                               LAUREN COOK
                               4459 LAUREL CLUB CIR APT 16
                               WEST BLOOMFIELD MI 48323-2903




                                                                                                                                         Loan Number:
                   Analysis Date: April 09, 2020

       Date                     Anticipated Payments                                                                                      Escrow Balance
                                To Escrow       From Escrow                                      Description                       Anticipated          Required
  NOV 2020                               $229.07                             $43.18              PMI INSURANC                         $1,249.06                $856.79
  DEC 2020                               $229.07                             $43.18              PMI INSURANC                         $1,434.95              $1,042.68
  DEC 2020                                                                  $670.90              TAXES                                  $764.05                $371.78
  JAN 2021                               $229.07                             $43.18              PMI INSURANC                           $949.94                $557.67
  FEB 2021                               $229.07                             $43.18              PMI INSURANC                         $1,135.83                $743.56
  MAR 2021                               $229.07                             $43.18              PMI INSURANC                         $1,321.72                $929.45
  APR 2021                               $229.07                             $43.18              PMI INSURANC                         $1,507.61              $1,115.34
                       _______________________________      _____________________________


                                     $2,748.84                          $2,705.69



                                                          Annual Escrow Account Disclosure Statement
                                                                       Account History
 The following statement of activity in your escrow account from May 2019 through April 2020 displays actual activity as it occurred in your escrow account
 during that period. If you received Account Projections with a prior analysis, they are included again here for comparison.

                Payments to Escrow                                  Payments From Escrow                                                               Escrow Balance
Date           Anticipated        Actual                            Anticipated        Actual                 Description                           Required           Actual
                                                                                                            Starting Balance                        $1,089.23       $1,224.27
 MAY                $224.71                     $298.71 *                ($43.18)                   $43.18 PMI INSURANC                             $1,270.76       $1,479.80
 JUN                $224.71                     $298.71 *                ($43.18)                   $43.18 PMI INSURANC                             $1,452.29       $1,735.33
 JUL                $224.71                     $224.71                  ($43.18)                   $43.18 PMI INSURANC                             $1,633.82       $1,916.86
 AUG                $224.71                     $224.71                  ($43.18)                   $43.18 PMI INSURANC                             $1,815.35       $2,098.39
 AUG                                                                  ($1,250.47)                $1,268.81 * TAXES                                    $564.88         $829.58
 AUG                                                                                               $291.00 * HAZARD INS                               $564.88         $538.58
 SEP                $224.71                     $224.71                   ($43.18)                  $43.18 PMI INSURANC                               $746.41         $720.11
 SEP                                                                     ($267.00)                           PROPERTY INS                             $479.41         $720.11
 OCT                $224.71                     $224.71                   ($43.18)                  $43.18 PMI INSURANC                               $660.94         $901.64
 NOV                $224.71                     $224.71                   ($43.18)                  $43.18 PMI INSURANC                               $842.47       $1,083.17
 DEC                $224.71                     $147.00 *                 ($43.18)                  $43.18 PMI INSURANC                             $1,024.00       $1,186.99
 DEC                                                                     ($660.94)                 $670.90 * TAXES                                    $363.06         $516.09
 JAN                $224.71                     $224.71                   ($43.18)                  $43.18 PMI INSURANC                               $544.59         $697.62
 FEB                $224.71                     $224.71                   ($43.18)                  $43.18 PMI INSURANC                               $726.12         $879.15
 MAR                $224.71                     $223.89 *                 ($43.18)                  $43.18 PMI INSURANC                               $907.65       $1,059.86
 APR                $224.71                     $447.78 *                 ($43.18)                  $43.18 PMI INSURANC                             $1,089.18       $1,464.46
             _______________      _________________             ________________            ________________

                  $2,696.52                  $2,989.06                 -$2,696.57                $2,748.87
An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call our toll-free number.

  (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
 Your ending balance from the last month of the account history (escrow balance anticipated) is $1,464.46. Your starting balance (escrow
 balance required) according to this analysis should be $1,072.19. Please note that your remaining escrow shortage balance included in the
 Proof of Claim at bankruptcy filing is $0.00. This post-petition analysis shows a surplus of $392.27. If your surplus is less than $50.00 or you
 have a pre-petition escrow shortage, your surplus will not be returned to you as we have the additional option of keeping it and adjusting your
 monthly payments accordingly.
 We anticipate the total of your coming year bills to be $2,705.69. We divide that amount by the number of payments expected during the coming
 year to obtain your escrow payment.




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                                                  Home Point Financial Corporation
                                                    11511 Luna Road, Suite 200
                                                     Farmers Branch, TX 75234
                                                           800.686.2404


                                                                                   Property Address:
                                                                                   4459 LAUREL CLUB CIR APT
                                                                                   WEST BLOOMFIELD MI 48323
             LAUREN COOK
             4459 LAUREL CLUB CIR APT 16
             WEST BLOOMFIELD MI 48323-2903




                                                                                            Loan Number:
     Analysis Date: April 09, 2020

New Escrow Payment Calculation
Unadjusted Escrow Payment:                        $229.07
Over/Short Spread:                                  $0.00
                                                                                                                           NMLS#
Escrow Payment:                                   $229.07


If you are a New York resident or your property is in the state of New York, and you desire to file a complaint about Home Point
Financial, you may file with the New York State Department of Financial Services and may obtain further information from the New
York State Department of Financial Services by calling the Department's Consumer Assistance Unit at 1-800-342-3736 or by visiting
the Department's website at www.dfs.ny.gov.




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